                          IN THE UNITED STATES DISTRICT COURT
                             For The Eastern District of North Carolina
                                     Western Division No.:
                                          5:18-cv-151


    Timothy Danehy,                           §
                                              §
                      Plaintiff,              §
                                              §         Original Complaint
                                              §
    v.                                        §
                                              §
    Comenity Bank                             §         Jury Demanded
                                              §
                      Defendant.              §
                                              §


                    PLAINTIFF TIMOTHY DANEHY’S ORIGINAL COMPLAINT AND
                                  DEMAND FOR JURY TRIAL


         Timothy Danehy (“Plaintiff”) alleges Comenity Bank (“Defendant”) “robo-called” him

more than 240 times in stark violation of the Telephone Consumer Protection Act, 47 U.S.C. §227

et seq. (“TCPA”).


1. Introduction


   1.1. “Robocalls” are the #1 consumer complaint in America today.

   1.2. The FTC reported over 3.2 million complaints about robocalls in 2014, of which almost

         half (1,678,433) occurred after the consumer had already requested that the company

         stop calling. Federal Trade Commission, National Do Not Call Registry Data Book, FY 2014,

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    at 5 (Nov. 2014). Since this report, the number of complaints has increased. Robocalls

    are very inexpensive to make. As was noted in a Senate hearing on the subject: “With

    such a cheap and scalable business model, bad actors can blast literally tens of millions

    of illegal robocalls over the course of a single day at less than 1 cent per minute.” Senate

    Hearing at 5.

1.3. According to the Federal Communications Commission (FCC), “Unwanted calls and texts

    are the number one complaint to the FCC. There are thousands of complaints to the FCC

    every month on both telemarketing and robocalls. The FCC received more than 215,000

    TCPA complaints in 2014." https://www.fcc.gov/document/fact-sheet-consumer-

    protection-proposal.

1.4. The TCPA was enacted to prevent companies like Comenity Bank from invading American

    citizens’ privacy and prevent illegal robocalls.

1.5. Congress enacted the TCPA to prevent real harm. Congress found that "automated or

    pre-recorded calls are a nuisance and an invasion of privacy, regardless of the type of

    call" and decided that "banning" such calls made without consent was "the only effective

    means of protecting telephone consumers from this nuisance and privacy invasion." Pub.

    L. No. 102-243, §§ 2(10-13) (Dec. 20, 1991), codified at 47 U.S.C. § 227; see also Mims v.

    Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012) (“The Act bans certain practices invasive

    of privacy”).




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   1.6. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of modern

       civilization, they wake us up in the morning; they interrupt our dinner at night; they force

       the sick and elderly out of bed; they hound us until we want to rip the telephone out of

       the wall.’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give

       telephone subscribers another option: telling the autodialers to simply stop calling.”

       Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

   1.7. According to findings by the Federal Communication Commission (“FCC”)—the agency

       Congress vested with authority to issue regulations implementing the TCPA—such calls

       are prohibited because, as Congress found, automated or prerecorded telephone calls

       are a greater nuisance and invasion of privacy than live solicitation calls, and such calls

       can be costly and inconvenient. The FCC also recognized that wireless customers are

       charged for incoming calls whether they pay in advance or after the minutes are used.

2. Jurisdiction and Venue


   2.1. Jurisdiction and venue for purposes of this action are appropriate and conferred by 28

       U.S.C. § 1331, federal question jurisdiction, as this action involves violations of the TCPA.

   2.2. Subject matter jurisdiction, federal question jurisdiction, for purposes of this action is

       appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts

       shall have original jurisdiction of all civil actions arising under the Constitution, laws or

       treaties of the United States; and this action involves violations of 47 U.S.C. §

       227(b)(1)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012).
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   2.3. The alleged violations described in the Complaint occurred in North Carolina.

       Accordingly, venue is appropriate with this Court under 28 U.S.C. § 1391(b)(2), as it is the

       judicial district in which a substantial part of the events or omissions giving rise to this

       action occurred.


3. Standing

   3.1. Plaintiff has Article III standing for his claim under the TCPA. Spokeo, Inc., v. Thomas

       Robins, 136 S. Ct. 1540 (2016).

   3.2. Plaintiff was harmed by Defendant’s actions of calling his cell phone without consent in

       the following manners:

       a.     Plaintiff’s privacy was invaded by Defendant;

       b.     Plaintiff was harassed and abused by Defendant’s telephone calls;

       c.     Defendant’s calls were a nuisance to Plaintiff;

       d.     Plaintiff’s phone was unavailable for other use while processing the illegal calls

              from Defendant;

       e.     Defendant illegally seized Plaintiff’s telephone line while it made illegal calls to

              Plaintiff’s cellular telephone;

       f.     Plaintiff’s telephone line was occupied by multiple unauthorized calls from

              Defendant;

       g.     Defendant’s seizure of Plaintiff’s telephone line was intrusive; and



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       h.     Plaintiff was inconvenienced by Defendant’s calls, by among other things, hearing

              his ring and having to check the calling party.


4. Factual Allegations


   4.1. Plaintiff is a natural person, and citizen of the State of North Carolina, residing in

       Henderson, North Carolina.

   4.2. Plaintiff is the “called party” under the TCPA.

   4.3. Defendant is a corporation which was formed in Delaware with its principal place of

       business located at One Righter Parkway, Suite 100, Wilmington, DE 19803 and which

       conducts business in the State of North Carolina.

   4.4. Each call the Defendant made to the Plaintiff was made using an automatic telephone

       dialing system (“ATDS”) which has the capacity to store or produce telephone numbers

       to be called, without human intervention, using a random or sequential number

       generator; and to dial such numbers as specified by 47 U.S.C §227(a)(1).

   4.5. None of Defendant’s telephone calls placed to Plaintiff were for “emergency purposes”

       as specified in 47 U.S.C. §227(b)(1)(A).

   4.6. Plaintiff is the subscriber and regular user of the cellular telephone numbers at issue,

       919-885-9717 and 919-637-2447.

   4.7. Plaintiff never provided his aforementioned cellular telephone numbers to the

       Defendant.


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4.8. In or about January 15, 2015, Plaintiff began receiving telephone calls to his cellular

    telephone number 919-885-9717 from Defendant seeking to recover a debt. Upon

    receipt of the calls from Defendant, Plaintiff’s caller ID identified the calls were being

    initiated from, but not limited to, the following phone numbers: 720-456-3697; 913-312-

    1013; 913-312-5159; 614-212-5166; 614-212-5165; 614-754-4053; 614-754-4052 and

    614-754-4054.

4.9. Plaintiff answered the calls and stated, "don't call this number" or "stop calling this

    number" or "you do not have my consent to call this number.”

4.10.      Additionally, by letter dated February 22, 2015 Plaintiff sent written notice to

    Defendant of his intent to sue over the illegal phone calls. This letter further put

    Defendant on notice that it did not have permission to contact Plaintiff. The letter is

    attached as Exhibit A.

4.11.      On April 8, 2015, Defendant responded to Plaintiff by admitting that it contacted

    him in error as it was actually trying to contact one of its customers regarding a business

    matter. The letter is attached as Exhibit B.

4.12.      On November 8, 2016, plaintiffs sent another written notice to Defendant of his

    intent to sue over the illegal phone calls. This letter further put Defendant on notice that

    they did not have permission to contact Plaintiff. The letter is attached as Exhibit C.

4.13.      Thus, orally and in writing Plaintiff expressly revoked any express consent

    Defendant may have mistakenly believed it had for placement of telephone calls to

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    Plaintiff’s aforementioned cellular telephone numbers by the use of an ATDS or a pre-

    recorded or artificial voice.

4.14.      In August 2017 Defendant again began calling Plaintiff. The calls were to Plaintiff’s

    cell phone number 919-637-2447. Plaintiff received from Defendant approximately 200

    calls on this cellular number.

4.15.      Plaintiff answered the calls and again stated, "don't call this number" or "stop

    calling this number" or "you do not have my consent to call this number.”

4.16.      Thus, orally and in writing Plaintiff expressly revoked any express consent

    Defendant may have mistakenly believed it had for placement of telephone calls to

    Plaintiff’s aforementioned cellular telephone numbers by the use of an ATDS or a pre-

    recorded or artificial voice.

4.17.      Each call Defendant made to the Plaintiff’s aforementioned cellular telephone

    numbers was done so without the “express consent or permission” of the Plaintiff.

4.18.      Despite actual knowledge of their wrongdoing, and that they did not have

    Plaintiff’s express consent or permission, the Defendant continued its barrage of phone

    calls to Plaintiff’s cellular telephone numbers.

4.19.      Defendant made at least one call to 919-885-9717 using an “automatic telephone

    dialing system” (ATDS).

4.20.      Defendant made at least 40 calls to 919-885-9717 using an ATDS.

4.21.      Defendant made at least 50 calls to 919-637-2447 using an ATDS.

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4.22.      Defendant made at least 100 calls to 919-637-2447 using an ATDS.

4.23.      Defendant made at least 150 calls to 919-637-2447 using an ATDS.

4.24.      Defendant made at least 175 calls to 919-637-2447 using an ATDS.

4.25.      Defendant made at least 200 calls to 919-637-2447 using an ATDS.

4.26.      Each call the Defendant made to the Plaintiff in the last four years was made using

    an ATDS.

4.27.      From about January of 2015 through the filing of this Complaint, Defendant placed

    approximately 250 automated calls to Plaintiff’s telephone numbers, despite the Plaintiff

    revoking any consent Defendant may have mistakenly believed it had to place calls to his

    aforementioned cellular telephone numbers. A review of Defendant’s records will help

    establish the number of calls.

4.28.      By effectuating these unlawful phone calls, Defendant has caused the Plaintiff the

    very harm that Congress sought to prevent—namely, a "nuisance and invasion of

    privacy."

4.29.      Defendant’s aggravating and annoying phone calls trespassed upon and interfered

    with Plaintiff’s rights and interests in his cellular telephone and cellular telephone line,

    by intruding upon Plaintiff’s seclusion.

4.30.      Defendant’s phone calls harmed Plaintiff by wasting his time.




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4.31.      Many of Defendant's calls disrupted Plaintiff's sleep (Plaintiff works at night and

    sleeps during daylight hours) causing physical harm, insomnia, and stress both physical

    and emotional.

4.32.      Moreover, "wireless customers [like Plaintiff] are charged for incoming calls

    whether they pay in advance or after the minutes are used." In re: Rules Implementing

    the TCPA of 1991, 23 FCC Rcd 559, 562 (2007). Defendant’s phone calls harmed Plaintiff

    by depleting the battery life on his cellular telephone, and by using minutes allocated to

    Plaintiff by his cellular telephone service provider.

4.33.      Defendant’s corporate policy and procedures is structured as to continue to call

    individuals like the Plaintiff, despite these individuals revoking any consent the

    Defendant may have had.

4.34.      Defendant’s, corporate policy and procedures provided no means for the Plaintiff

    to have his cellular numbers removed from the call list.

4.35.      Defendant has a corporate policy of using an ATDS or a prerecorded or artificial

    voice message to collect debts from individuals such as Plaintiff for its financial benefit.

4.36.      Plaintiff expressly revoked any consent Defendant may have mistakenly believed

    it had for placement of telephone calls to Plaintiff’s cellular telephone by the use of an

    ATDS or a pre-recorded or artificial voice immediately upon Defendant’s placement of

    the calls.

4.37.      Defendant violated the TCPA with respect to the Plaintiff.


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   4.38.       Defendant willfully or knowingly violated the TCPA with respect to the Plaintiff.

5. Count 1 (Violation of the TCPA)

   5.1. Plaintiff incorporates Paragraphs 1-4 above.

   5.2. Defendant caused placement of non-emergency telephone calls to Plaintiff’s cellular

        telephone using an ATDS or prerecorded or artificial voice without Plaintiff’s prior

        express consent in violation of federal law, including 47 U.S.C § 227(b)(1)(A)(iii).

   5.3. Defendant willfully and knowingly caused placement of non-emergency telephone calls

        to Plaintiff’s cellular telephone using an ATDS or prerecorded or artificial voice without

        Plaintiff’s prior express consent in violation of federal law, including 47 U.S.C §

        227(b)(1)(A)(iii).

6. Relief Requested

   6.1. Plaintiff respectfully demands a trial by jury on all issues so triable and judgment against

        Defendant for statutory damages of up to $1,500 per call and any other such relief the

        Court may deem just and proper.



 This 10th day of April, 2018.            Respectfully submitted:

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